            Case 1:22-cv-00477-RP Document 1-4 Filed 05/16/22 Page 1 of 6
                                                                                                   4/28/2022 1:43 PM
                                                                                                       Velva L. Price
                                                                                                       District Clerk
                                                        D-1-GN-22-001984                              Travis County
                                         Cause No:                                                 D-1-GN-22-001984
                                                                                                        Ruben Tamez
LOURDES H. LANDIN,                                                  IN   THE DISTRICT COURT




                                             ))))
                                                                 25OTH, DISTRICT COURT
       Plaintiff,
                                                                            JUDICIAL DISTRICT




                                             )
V




                                             )
DEUTSHE BANK NATIONAL




                                             ))))))))
TRUST COMPANY, AS
INDENTURE TRUSTEE FOR FBR
SECURITIZATION TRUST 2005-5,
MORTGAGE-BACKED NOTES,
SERIES 2005-5 AND SELECT
PORTFOLIO SERVICING, INC.
       Defendant.                                                  OF TRAVIS COUNTY, TEXAS

    PLAINTFF'S ORIGINAL PETITION AND STAY OF ORDER TO PROCEED WITH
     EXPEDITED FORECLOSURE UNDER TEX. RULE CIVIL PROCEDURE 736 IN
                          CAUSE NO. D-1-19-008618

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW LOURDES H. LANDIN, hereinafter called Plaintiff, by and through his

attorney, Robert C. Newark, III, and ﬁles this Original Petition and in support thereof would

show unto the Court the following:

                             NOTICE UNDER TEX R. CIV P. 736.11

       I.         This lawsuit is ﬁled pursuant to Tex. R. Civ. P. 736.11 Automatic Stay and

Dismissal   if   Independent Suit is ﬁled.         Defendant ﬁled and obtained an Order to Sale in

TRAVIS COUNTY District         Court Case No. D-I-I9-0086I8. Such proceeding was conducted

under the Expedited Foreclosure Rules, Tex. R. Civ. P. 736, et seq. Tex R. Civ. P 736.11 states

that an Order    of Sale is automatically stayed by the ﬁling of this action, which is       a separate,


original proceeding in a court of competent jurisdiction that puts in issue the constitutionality of

the matter related to the origination   of the complained of loan, lien, servicing, and enforcement

of the loan agreement, contract, and lie sought         to be foreclosed. This lawsuit was ﬁled prior to

                                                                                         EXHIBIT
                                                                                                        exhibitsticker.com




                                                        I

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             Case 1:22-cv-00477-RP Document 1-4 Filed 05/16/22 Page 2 of 6




5:00 pm on the Monday, May 2, 2022, before the scheduled foreclosure sale, which is May 3,

2022. Tex. R. CiV. P. 736.11.

                                  JURISDICTION AND VENUE

       2.       This Court has jurisdiction over the Defendant because the actions complained of

herein all occurred in   TRAVIS COUNTY, Texas.            Furthermore, the real property which is

subject of this lawsuit is located in   TRAVIS COUNTY, Texas. Venue is also proper in TRAVIS

COUNTY, Texas.

                                              PARTIES
        3.      Plaintiff, LOURDES H. LANDIN, is an individual that resides in          TRAVIS

COUNTY, Texas.

       4.       Defendant,    DEUTSHE         BANK NATIONAL TRUST COMPANY,                    AS

INDENTURE TRUSTEE FOR FBR SECURITIZATION TRUST 2005-5, MORTGAGE-

BACKED NOTES, SERIES               2005-5 AND         SELECT PORTFOLIO SERVICING, INC..

(hereinafter referred to as "Lienholder") is a foreign entity doing business in         TRAVIS

COUNTY,       State of Texas and is the purported holder of the Lien(s) held by Defendant and

obtained the Order of Sale both which are subject to this Petition. Lienholder may be served

through its registered agent, the Secretary of State.

                                   FACTUAL BACKGROUND
        5.      Plaintiff is the owner of property located at 1501 Demaret St Pﬂugerville,    TX
78660 (hereinafter referred to as the "Property").

        6.      Plaintiff has always disputed the amount owed to the Lienholder and the

Lienholder's ability to enforce the lien when the balance was in dispute.




                                                  2
             Case 1:22-cv-00477-RP Document 1-4 Filed 05/16/22 Page 3 of 6




        7.      On or about December 16, 2019, Lienholder caused a case to be ﬁled in      TRAVIS

COUNTY, Texas to enforce the Lien(s) held by Defendant.

        8.      Lienholder moved and obtained a default judgment on March 10, 2022.

        9.      Under Rule 736.8, Plaintiff is unable to appeal the March 10, 2022 order, seek a

new trial, or a bill of review

                           COUNT I: DECLARATORY JUDGMENT

        10.     Plaintiff hereby incorporates all of the paragraphs above, as if each was fully set

forth herein.

        ll.     Plaintiff bring this claim for a declaratory judgment under Section 37.001, et seq.,

of the Texas Civil Practices and Remedies Code.

        12.     There exists an actual and substantial controversy between the parties herein that

would be terminated by the granting of the declaratory judgment.

        13.     As previously    stated, Plaintiff has not been provided the evidence to show that

Lienholder has any right to continue the enforcement of Lien(s) held by Defendant.

        14.     As such, traditional enforcement remedies such    as foreclosure are not available to

Defendant. Accordingly, Plaintiff seeks a judgment declaring Defendant's right to foreclosure

on the Notice   of Liens constitutionally unenforceable in perpetuity.

        15.     Therefore, Plaintiff seeks a declaratory judgment declaring the Notice of Lien

void ab initio; that any purported lien evidenced by the Lien(s) held by Defendant is void; and

that such purported lien does not constitute a lien or encumbrance against the Property.




                                                  3
             Case 1:22-cv-00477-RP Document 1-4 Filed 05/16/22 Page 4 of 6




                                          ATTORNEY'S FEES
           16.   Plaintiff are entitled to recover reasonable and necessary attorney fees pursuant to

Tex. Civ. Prac. & Rem. Code Sec. 37.009 and pursuant to Tex. Civ. Prac. & Rem. Code Chapter

38 in this action for the breach    of contract as authorized in Sec. 38.001(8).

                               DISCOVERY DISCLOSURES TRCP 194.2
                                                                    -




           17.   Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff request that

Defendant disclose the information and material described in Rule 194.2 within 50 days of

service.

                                        NOTICE TRCP 
                                                             193.7

           18.   Plaintiff hereby put Defendant on notice that Plaintiff intend to use Defendant's

discovery responses as evidence at trial in accordance with such rights and privileges established

by Texas Rules of Civil Procedure 193.7.

                                     CONDITIONS PRECEDENT

           19.   All   conditions precedent to the Plaintiff" right to bring theses causes of action

have been performed, have occurred, or have been waived.

                                      RULE 47 DECLARATIONS
           20.   By reason of all   the above and foregoing it has become necessary to bring this suit

for which it is now brought in a just and reasonable sum greatly in excess of the jurisdictional

limits of this Honorable Court, together with all interest, pre and post judgment to which Plaintiff

is entitled by law.    As required by Rule 47(b), Texas Rules of Civil Procedure, Plaintiff counsel

states that the damages sought are in an amount Within the jurisdictional limits     of this Court. As

required by Rule 47(c), Texas Rules of        Civil Procedure, Plaintiff" counsel   states that Plaintiff

seek monetary relief of $250,000.00 but not more than $1,000,000.00.



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                                                        A
               Case 1:22-cv-00477-RP Document 1-4 Filed 05/16/22 Page 5 of 6




                                              PRAYER

                  WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully request that:

          a.      The Defendant be cited to appear and answer herein;

          b.      That on ﬁnal trial thereof, Plaintiff be awarded declaratory judgment as requested

herein decreeing that the purported lien evidenced by the Lien(s) held by Defendant are void ad

into;

          c.      That Plaintiff have and recover a judgment from and against Defendant for the

forfeiture of all principal and interest on the Notices of Lien including, but not limited to a

judgment from and against Defendant for payment of all principal and interest paid by Plaintiff

to Defendant through the date     of ﬁnal judgment, together with prejudgment and post judgment

interest as allowed by law;

          d.      That Plaintiff be awarded exemplary damages, costs and reasonable and necessary

attorney's fees; and

          e.      For such other and further relief that Plaintiff may be awarded at law and in

equity.

                                               RESPECTFULLY SUBMITTED,
                                               A Newark Firm
                                               I341 W. Mockingbird Lane, Ste 600W
                                               Dallas, Texas 75247
                                               Telephone:     (866)230-7236
                                               Facsimile:     (888)316-3398
                                               Email:         ofﬁce@newarkf1rm.com

                                        By:    /s/Robert C. Newark. III
                                               Robert C. Newark, III
                                               Texas Bar No. 24040097
                                               Oklahoma Bar No. 21992
                                               ATTORNEY FOR PLAINTIFF




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            Case 1:22-cv-00477-RP Document 1-4 Filed 05/16/22 Page 6 of 6

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Brittany Wilbanks on behalf of Robert Newark
Bar No. 24040097
brittany@newarkfirm.com
Envelope ID: 64003566
Status as of 4/28/2022 3:58 PM        CST
Associated Case Party: LOURDESHLANDIN

Name            BarNumber   Email                   TimestampSubmitted    Status
Robert Newark               Office@newarkfirm.com   4/28/20221243201 PM   SENT
